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                                     U.S. v. Mattox: Summary of Form 1041 Trust Tax Returns
                                                       .                                               Total Payments      Payments
Date Received                                                      IP Address or      Total Income       Claimed on       Received by   Refund Claimed on
    by IRS      Tax Year            Entity                  DLN        Mailed      Claimed on Return       Return             IRS            Return         Refund Issued


 9/10/2016       2015      Kemahra Investment Trust        x9306   24.181.4.255       $155,000            $75,000             $0             $9,932          $9,992.97
                             Burgess Mattox Bey
 9/22/2016       2015         Investment Trust             x6146   24.181.4.255      $4,881,000         $2,440,000            $0           $323,848         $325,408.97

 1/13/2017       2015      Burgess Mattox Bey Trust        x4007     MAILED          $23,421,837       $23,421,000            $0          $13,258,124             -

 3/2/2017        2016      Kemahra Investment Trust        x1357   24.181.4.255      $9,975,000         $4,987,500            $0           $660,569               -
                           Marquet Antwain Burgess
 4/4/2017        2015           Mattox Trust               x3027     MAILED           $9,762,000        $9,762,000            $0           $5,527,494             -

 5/31/2017       2015      Burgess Mattox Bey Trust        x9017     MAILED          $49,000,000        $24,500,000           $0           $3,236,202             -
                           Marquet Antwain Burgess
 8/3/2017        2015            Mattox Trust              x6007     MAILED           $9,762,000        $9,000,000            $0           $5,135,939             -
                           Marquet Antwain Burgess
 8/4/2017        2016            Mattox Trust              x2217     MAILED           $8,975,000        $9,000,000            $0           $5,362,115             -

 9/21/2017       2016       Kamili Investment Trust        x1777   71.86.96.61        $5,000,000        $9,878,256            $0           $7,900,000             -

 9/22/2017       2016      Burgess Mattox Bey Trust        x5537   71.86.96.61         $250,000          $600,000             $0            $502,744              -

 9/22/2017       2016      Kamilya Investment Trust        x6187   71.86.96.61        $5,000,000        $9,978,256            $0           $8,000,000             -
 11/7/2017       2015      Kemahra Investment Trust        x1007     MAILED            $155,000          $155,000             $0             $89,932              -
                             Burgess Mattox Bey
 11/7/2017       2015         Investment Trust             x1017     MAILED           $4,881,000         $4,881,000           $0           $2,764,804       $2,571,783 .77

11/17/2017       2016      Burgess Mattox Bey Trust        x1027   71.86.96.61       $17,660,000        $17,660,000           $0           $9,997,779             -

11/17/2017       2016       Kam iii Investment Trust       x1007    71.86.96.61      $17,600,000        $17,600,000            $0          $9,963,819             -

11/18/2017       2016      Kemahra Investment Trust        x7037    71.86.96.61      $17,660,000        $17,660,000            $0          $9,997,779             -

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                                                                                                                                                               -
                                                                                                        Total Payments    Payments
Date Received                                                       IP Address or     Total Income        Claimed on     Received by   Refund Claimed on
   by IRS       Tax Year              Entity                DLN        Mailed       Claimed on Return       Return           IRS            Return         Refund Issued

                              Burgess Mattox Bey
11/18/2017       2016          Investment Trust            x9047    71.86.96.61       $17,660,000       $17,660,000          $0          $9,997,779              -
                            Marquet Antwain Burgess
11/18/2017       2016            Mattox Trust              x0057    71.86.96.61       $17,660,000       $17,660,000          $0          $9,997,779              -

11/18/2017       2016        Kamilya Investment Trust      x0037    71.86.96.61       $17,690,000       $17,670,000          $0          $9,994,759              -

 1/17/2018       2016      Marshana El Investment Trust    x3048   73.137.128.77      $5,000,000         $4,200,000          $0           $2,032,219       $2,106,706.61

 1/17/2018       2016            Asim El Bey Trust         x4268   73.137.128.77      $4,500,000         $2,250,000          $0            $299,219              -

 1/17/2018       2016             Nwatson Trust            x0308   73.137.128.77       $4,800,000        $2,400,000          $0            $319,019              -

 1/17/2018       2016      Nycholas Kemahra Mattox El      x1138   73.137.128.77       $3,200,000        $1,600,000          $0            $213,419              -

 1/18/2018       2016            Watson El Trust           x6418   73.137.128.77       $3,000,000        $1,500,000          $0            $200,219                -

 1/18/2018       2016       Eric Marice Baldwin El Trust   x9278   73.137.128.77       $4,800,000        $2,400,000          $0            $319,019                -
                             Marquet Antwain Burgess
  2/7/2018        2015             Mattox Trust            x4158      MAILED          $40,000,000        $40,000,000         $0          $22,642,202               -

  2/7/2018        2016       Kamilya Investment Trust      x4208      MAILED          $60,000,000        $37,000,000         $0          $10,962,219               -

  2/8/2018        2016       Burgess Mattox Bey Trust      x9018      MAILED          $142,156,200       $71,700,000         $0          $10,006,428               -

 2/27/2018        2016            Watson El Trust          x3018      MAILED          $40,000,000        $20,000,000         $0           $2,642,219               -

 8/10/2018        2015      Kemahra Investment Trust       x4118    71.86.96.61         $155,000           $155,000          $0             $89,888                -
                              Burgess Mattox Bey
 8/10/2018        2015         Investment Trust            x0048    71.86.96.61        $4,881,000         $4,881,000          $0          $2,764,804               -

                                                                                                                           Total:        $165,212,271      $5,013,892.32




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